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IN THE UNITED STATES DISTRICT COURTGS

 

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FOR THE WESTERN DISTRICT OF TENNESSEE i n
WESTERN DIVISION F€OB‘LHT F`t iii ` ”'.EO
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WD OF TN, i\/l[:i\i'iPHlS
UNITED STATES OF AMERICA,
Plaintiff, Case No. 04-20474 D

vs.
KATHERINE SUE PRATT,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion for Speedy Trial and for Appointment of Counsel
and/or Disrnissal filed on April 18, 2005, in this case.

This matter is hereby referred to the United States Magistrate Judge for a Report and
Recommendation. Any exceptions to the Magistrate Judge’s order shall be made by motion Within

ten (10) days of the order. Further, all exceptions shall be stated With particularity

IT IS SO ORDERED this /‘z day of f ;M 2005.

RNICE B. DoNALD
NITED sTATEs I)ISTRICT JUDGE

 
 
  
 

 

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with Flu|e 55 and/or 32(b) FRCrP on

UNITED sATE DSTIIC COURT - WESTERN DISTRCT oFTENNEssEE

   

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This notice confirms a copy of the document docketed as number 22 in
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Honorable Berniee Donald
US DISTRICT COURT

